                Case 1:20-cr-00183-RJJ ECF No. 803, PageID.10647 Filed 12/28/22 Page 1 of 1

                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       BARRY GORDON CROFT, JR.                                                     DISTRICT JUDGE:         Robert J. Jonker

    CASE NUMBER                       DATE                 TIME (begin/end)              PLACE                   INTERPRETER
      1:20-cr-183                    12/28/22         10 - 11:28 a.m.                 Grand Rapids




                                                              APPEARANCES
Government:                                             Defendant:                                         Counsel Designation:
Nils Kessler / Chris O'Connor                           Joshua Blanchard                                   CJA Appointment

             TYPE OF HEARING                                  DOCUMENTS                                  CHANGE OF PLEA
    Arraignment:                                    Defendant's Rights                      Charging Document:
       mute             nolo contendre                                                          Read           Reading Waived
                                                    Waiver of Indictment
       not guilty       guilty                                                              Guilty Plea to Count(s)
                                                    Other:
    Final Pretrial Conference                                                               of the
    Detention        (waived     )
                                                                                            Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                           Court to Issue:

    Bond Violation                                  Order of Detention                          Presentence Report Ordered
    Change of Plea                                  Notice of Sentencing                       Presentence Report Waived
                                                    Order Appointing Counsel                   Plea Accepted by the Court
✔   Sentencing
    Trial
                                                ✔   Other:                                     Plea Taken under Advisement
                                                Judgment
    Other:                                                                                      No Written Plea Agreement

                                                               SENTENCING

Imprisonment: 235 months                                                Plea Agreement Accepted:       Yes       No

Probation:                                                              Defendant informed of right to appeal:    ✔   Yes      No
                                                                        Counsel informed of obligation to file appeal:      ✔ Yes   No
Supervised Release: 5 years
Fine: $ 3,500.00                                                        Conviction Information:
Restitution: $                                                              Date: 8/23/22
                                                                            By: Jury Trial
Special Assessment: $ 300.00
                                                                            As to Count (s): 1-3 of Superseding Indict.

ADDITIONAL INFORMATION:




                    CUSTODY/RELEASE STATUS                                                BOND AMOUNT AND TYPE

Remanded to USM                                                          $

CASE TO BE:                                                             TYPE OF HEARING:

Reporter/Recorder:         Paul Brandell                                Case Manager:         S. Bourque
